Case 1:05-cv-00377-WDM-BNB Document 167-10 Filed 02/15/07 USDC Colorado Page 1 of
                                       9
Case 1:05-cv-00377-WDM-BNB Document 167-10 Filed 02/15/07 USDC Colorado Page 2 of
                                       9
Case 1:05-cv-00377-WDM-BNB Document 167-10 Filed 02/15/07 USDC Colorado Page 3 of
                                       9
Case 1:05-cv-00377-WDM-BNB Document 167-10 Filed 02/15/07 USDC Colorado Page 4 of
                                       9
Case 1:05-cv-00377-WDM-BNB Document 167-10 Filed 02/15/07 USDC Colorado Page 5 of
                                       9
Case 1:05-cv-00377-WDM-BNB Document 167-10 Filed 02/15/07 USDC Colorado Page 6 of
                                       9
Case 1:05-cv-00377-WDM-BNB Document 167-10 Filed 02/15/07 USDC Colorado Page 7 of
                                       9
Case 1:05-cv-00377-WDM-BNB Document 167-10 Filed 02/15/07 USDC Colorado Page 8 of
                                       9
Case 1:05-cv-00377-WDM-BNB Document 167-10 Filed 02/15/07 USDC Colorado Page 9 of
                                       9
